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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION

CLAUDIA CROFT and
SHEER DELIGHT, INC.,

Plaintiffs,
vs. Case No. 8:09-cv-1370-T-27AEP
JEANETTE M. LEWIS,

Defendant.

/
ORDER

BEFORE THE COURT is the Report and Recommendation submitted by the Magistrate
Judge recommending that Defendant's Motion to Dismiss for Lack of Personal Jurisdiction (Dkt. 22)
be denied (Dkt. 31). Neither party has filed objections to the Report and Recommendation.

After careful consideration of the Report and Recommendation in conjunction With an
independent examination of the iile, the Court is of the opinion that the Report and Recommendation
should be adopted, coni`irmed, and approved in all respects. Accordingly, the Report and
Recommendation (Dkt. 3 l) is adopted, conlirmed, and approved in all respects and is made a part
of this order for all purposes, including appellate review. Defendant's Motion to Dismiss for Lacl<
of Personal Jurisdiction (Dkt. 22) is DENIED.

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DONE AND ORDERED in Tampa, Florida, on this a?~é day of April, 2010.

 

 

JA s z . WHITTEMoRE
Unl tates District Judge

Copies to:
Counsel of record

